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                                                                            FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNI
                                                                      [ SEP 1 3 lOll          I
                                                                          ERK, u.s. DISTRICT COURT
                                                                            N DISTRICT Oil CALIFORNIA
                                                                                               DEPUTY

UNITED STATES OF AMERICA,                   CASE NO.

                      Plaintiff,
              vs.                           JUDGMENT OF DISMISSAL
JOSE BESAREZ-HERNANDEZ (02),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal o f
    this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal; or

    the Court has granted the motion of the defendant for a judgment of
    acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

    the jury has returned its verdict, finding the defendant not guilty;

~   of the offense(s) of: 21 USC 952, 960 AND 18 USC 2.


          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: 09/13/12                             dL~
                                            RUBEN B. BROOKS
                                            UNITED STATES DISTRICT JUDGE



                                            ENTERED ON
